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                                            UNITED STATES DISTRICT COURT
                                        FOR THE EASTERN DISTRICT OF MICHIGAN

                            ADAM KANUSZEWSKI, et al,
                                Plaintiffs,                                   Case No.: 18-cv-10472

                                 v.                                        Hon. Thomas L. Ludington,
                                                                              District Court Judge
                            MICHIGAN DEPARTMENT OF
                            HEALTH AND HUMAN                                  Hon. Patricia T. Morris,
                            SERVICES, et al,                                    Magistrate Judge
                                Defendants
                                                                  /
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                                       MOTION TO STRIKE STATE DEFENDANTS’
                                 MOTION TO DISMISS AND EXHIBITS ATTACHED THERETO




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                                  NOW COMES Plaintiffs, by counsel, and moves to strike the State

                            Defendants’ Motion to Dismiss (ECF No. 21) for referencing outside

                            materials posted on government websites, including its own, and for

                            attaching exhibits in violation of the standard for motion practice under a

                            motion to dismiss. The State Defendants’ counsel was warned of the

                            improperness of this practice before filing and after (via concurrence) still did

                            it anyways. After the motion was filed, Plaintiffs, by counsel, have attempted
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                            to confer with Mr. Kerr, counsel for the State Defendants, by phone and email
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                            to seek concurrence, and the attorneys cannot agree. See ED Mich LR

                            7.1(a). This motion now follows.




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                                                         BRIEF IN SUPPORT

                                                           BACKGROUND

                                  This lawsuit is about a blood collection and seizure program which is

                            shockingly Orwellian. Since at least the mid-1980s, MDHHS and its officials

                            have been quietly seizing, collecting, and indefinitely storing excessive blood

                            samples of newborn Michiganders within 24 to 72 hours after their birth.

                            While there is little doubt that the program has saved lives, the process the
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                            State and its officials started and operated forgot one big thing to seize, test,
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                            and store blood to extract highly personal and private medical data: informed

                            consent. The State Defendants never sought or obtained fully informed

                            consent from the Infants, by their Parents, before taking the blood samples,

                            and since approximately 2010 has only sought consent to use already seized

                            blood for vague “research” purposes. Additionally, MDHHS, through its self-

                            created private non-profit entity known as the Michigan Neonatal Biobank,

                            has been selling blood samples to medical researchers. To keep this blood

                            supply pool up, MDHHS purposely requires hospitals and midwives to

                            extract more blood than necessary to conduct non-consensual medical tests

                            and then divvies up the remaining blood to indefinitely keep one sample in a

                            MDHHS warehouse and transfers the remaining blood samples to the

                            Michigan Neonatal Biobank. The Biobank, in turn, stores and then sells the


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                            blood samples to researchers who conduct a variety of tests covering

                            everything from public health studies to lab machinery calibration. In this

                            case, nine Infants are challenging the violations of their constitutional rights.

                            See ECF No. 3. There are millions of samples seize and stored across two

                            warehouses in Michigan—one in Lansing and the other in Detroit.

                                  On April 11, 2018, the Michigan Neonatal Biobank and its director, Dr.

                            Yancy, filed a motion to dismiss in lieu of an answer. ECF No. 15, 17. They
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                            obeyed the limitations of Federal Rule 12(b)(6). On April 17, 2018, the State
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                            Defendants also moved to dismiss in lieu of an answer. Their brief in support

                            contains numerous facts far outside the allegations in the pleadings but citing

                            to various government websites, including its own, and attaching twelve

                            exhibits, two of which are affidavits. This motion now follows.

                                                      MEMORANDUM OF LAW

                                  Assessment of the facial sufficiency of the complaint under Rule

                            12(b)(6) must ordinarily be undertaken without resort to matters outside the

                            pleadings. Wysocki v. Int'l Bus. Mach. Corp., 607 F.3d 1102, 1104 (6th Cir.

                            2010).1 The Sixth Circuit in Bassett v NCAA, 528 F.3d 426 (6th Cir. 2008)

                            explains the standard for Rule 12(b)(6) motions—



                                  1
                                   If a court does consider material outside the pleadings, the motion to
                            dismiss must be treated as a motion for summary judgment under Rule 56

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                                  The Supreme Court has recently clarified the pleading standard
                                  necessary to survive a Rule 12(b)(6) motion. Factual allegations
                                  contained in a complaint must raise a right to relief above the
                                  speculative level. Twombly does not "require heightened fact pleading
                                  of specifics, but only enough facts to state a claim to relief that is
                                  plausible on its face. In reviewing a motion to dismiss, we construe the
                                  complaint in the light most favorable to the plaintiff, accept its
                                  allegations as true, and draw all reasonable inferences in favor of the
                                  plaintiff. When a court is presented with a Rule 12(b)(6) motion, it
                                  may consider the Complaint and any exhibits attached thereto,
                                  public records, items appearing in the record of the case and
                                  exhibits attached to defendant's motion to dismiss so long as
                                  they are referred to in the Complaint and are central to the claims
                                  contained therein.
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                            Bassett, supra, at 430. The Sixth Circuit has, in more recent years, allowed
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                            this more expansive view in allowing for review of three more classes of

                            records: 1.) public records, 2.) items appearing in the record of the case,

                            and 3.) exhibits attached to defendant's motion to dismiss. However, those

                            classes are conditional and may only be considered so long as these records

                            are a.) referred to in the Complaint and b.) are central to the claims contained

                            therein. Bassett, supra, at 430; Gavitt v. Born, 835 F.3d 623, 640 (6th Cir.

                            2016)(same).

                                                    The Exhibits (ECF No. 21-2)

                                  Here, the State Defendants have attached two affidavits of State

                            employees, one a named party and the other not, plus a bunch of printouts


                            and all parties must be given a reasonable opportunity to present all material
                            pertinent to the motion. Wysocki, supra, at 1104.

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                            from the State’s website and the signed portions of DBS cards of only a

                            fraction of the Infants involved in the case and does identify to which Infant

                            the card belongs. They also attached Newborn Screening Program’s

                            promotional publications. These print outs provided by the State Defendants

                            are not public records, but instead marketing publications of Michigan

                            Department of Health and Human Services. Moreover, their complete

                            truthfulness is in dispute in this case. For example, MDHHS asserts in its
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                            pamphlet suggesting complete confidentiality to blood spots and related data
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                            that—

                                  The BioTrust can use this Certificate to legally refuse to disclose
                                  information that may identify you in any federal, state, or local civil,
                                  criminal, administrative, legislative, or other proceedings, for example,
                                  if there is a court subpoena. The BioTrust will use the Certificate to
                                  resist any demands for information that would identify you,
                                  except as explained below.

                                  The Certificate cannot be used to resist a demand for information from
                                  personnel of the U.S. federal or state government agency sponsoring
                                  the project and that will be used for auditing or program evaluation of
                                  agency funded projects or for information that must be disclosed in
                                  order to meet the requirements of the federal Food and Drug
                                  Administration (FDA).

                                  It does not prevent you or a member of your family from voluntarily
                                  releasing information about yourself or your involvement in this
                                  research. If an insurer, medical care provider, or other person obtains
                                  your written consent to receive research information, then the BioTrust
                                  will not use the Certificate to withhold that information.




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                            Exhibit A. Yet, a Freedom of Information Act request by another parent has

                            revealed that the Department has resisted nothing and instead provided

                            blood spots and data to courts without challenge. See Exhibit B. Allowing

                            the State to stuff-the-record with its own evidence (unchallenged by

                            discovery and disputed by Plaintiffs) and not provide Plaintiff the opportunity

                            to gather needed evidence in discovery to oppose the merits of this secret

                            program is unfair and prejudicial. It is nothing more than an improper Rule
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                            56 motion guised as a motion to dismiss.
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                                  In their brief, the State Defendants cite In re Omnicare, Inc. Securities

                            Litigation, 769 F. 3d 455, 466 (6th Cir. 2014) claiming that is supports their

                            ability add any evidence it wants (and to cite its own website) as undisputed

                            facts. However, Omnicare does not so hold. Instead, it explains—

                                  Generally, at the motion-to-dismiss stage, a federal court may consider
                                  only the plaintiff's complaint. Weiner v. Klais & Co., Inc., 108 F.3d 86,
                                  88-89 (6th Cir. 1997). However, we have recognized that if a plaintiff
                                  references or quotes certain documents, or if public records refute a
                                  plaintiff's claim, a defendant may attach those documents to its motion
                                  to dismiss, and a court can then consider them in resolving the Rule
                                  12(b)(6) motion without converting the motion to dismiss into a Rule 56
                                  motion for summary judgment. Id. at 89. Fairness and efficiency
                                  require this practice. As the Second Circuit explained in Kramer,
                                  "[w]ere courts to refrain from considering such documents, complaints
                                  that quoted only selected and misleading portions of such documents
                                  could not be dismissed under Rule 12(b)(6) even though they would
                                  be doomed to failure. Foreclosing resort to such documents might lead
                                  to complaints filed solely to extract nuisance settlements."




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                            Omnicare, supra, at 466. None of the exhibits attached to the State

                            Defendants’ motion to dismiss in this case are in response to references or

                            quotes of particular documents, and none of the exhibits actually offered

                            were to refute a plaintiff's claim about what is said in those documents. As

                            such, the attachment of these documents to a motion to dismiss pursuant to

                            Fed.R.Civ.P. 12(b)(6) is improper.2 Other circuits have only allowed for

                            consideration of an undisputedly authentic document that a defendant
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                            attaches as an exhibit to a motion to dismiss but only if the plaintiff's claims
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                            are based on the document itself. See e.g. Shaw v. Digital Equipment Corp.,

                            82 F.3d 1194, 1220 (1st Cir. 1996)(a “document integral to or explicitly relied

                            upon in the complaint” may be considered “without converting the motion [to

                            dismiss] into one for summary judgment”); In re Donald J. Trump Casino

                            Securities Lit., 7 F.3d 357, 368 fn.9 (3d Cir. 1993)(“a court may consider an

                            undisputedly authentic document that a defendant attaches as an exhibit to



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                                    The State Defendants might claim that the motion was also premised
                            on Rule 12(b)(1)—a challenge to this Court’s jurisdiction to hear civil rights
                            cases involving constitutional claims. The argument is borderline frivolous.
                            This Court, of course, has jurisdiction to hearing 42 U.S.C. § 1983 actions.
                            See 28 U.S.C. §§ 1331, 1343. Whether the claim is later successful or
                            meritorious is a separate and distinct question from the Court’s jurisdiction
                            to hear the constitutional-based dispute. In reviewing the brief, there is no
                            actual challenge made under Rule 12(b)(1). That line was added as nothing
                            more than a backhanded way to get around the prohibition to attaching
                            exhibits on a Rule 12(b)(6) motion.

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                            a motion to dismiss if the plaintiff's claims are based on the document.”);

                            Alvarado v. KOB-TV, L.L.C., 493 F.3d 1210, 1215 (10th Cir. 2007)(“[T]he

                            district court may consider documents referred to in the complaint if the

                            documents are central to the plaintiff's claim and the parties do not dispute

                            the documents' authenticity.”).

                                                              Affidavits

                                  Attaching affidavits to a motion to dismiss is completely improper and
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                            completely outside the pleadings. Wysocki, supra, at 1104. Affidavits are for
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                            Rule 56 motions. See Fed.R.Civ.P. 56(c)(1)(a), (4). If the State Defendants

                            want to use an affidavit, it must make that motion and Plaintiffs can then

                            oppose with its own challenge affidavit. See Fed.R.Civ.P. 56(d).

                                                  Links to Government Websites

                                  Third, and closely related, the State Defendants cite more than a dozen

                            websites to prove their factual statements made in the brief. See ECF No.

                            21, PageID190, 191, 192. This nothing more than a non-traditional way to

                            ‘attach’ exhibits without actually attaching them. In support of this practice,

                            the State Defendants cite United States ex rel. Modglin v. DJO Global Inc.,

                            48 F. Supp. 3d 1362, 1381 (C.D. Cal. 2014) to authorize this Court to take

                            judicial notice of facts from websites run by governmental agencies. First,

                            even assuming this is true statement of the law, the State Defendants’


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                            citations to babyfirst.com is not a government website—it is run by a non-

                            governmental non-profit known as Genetic Alliance. See About Baby's First

                            Test, available at http://www.babysfirsttest.org/newborn-screening/about-

                            babys-first-test (last accessed Apr 18, 2018). It is staff by private, not

                            government,       employees.       See      About        Us,     available        at

                            http://www.babysfirsttest.org/newborn-screening/our-team (last accessed

                            Apr 18, 2018). As such, it is improper.
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                                  More critically, this practice has been directly called into question and

                            highly limited. As the First Circuit explains, “[m]any documents in the
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                            possession of public agencies simply lack any indicia of reliability

                            whatsoever.” Freeman v. Town of Hudson, 714 F.3d 29, 36 (1st Cir. 2013).

                            In response, the First Circuit has rightly limited the use of information from

                            outside sources to only those facts subject to judicial notice under Federal

                            Rule of Evidence 201. Id. at 37. This limited exception makes sense

                            especially when at the motion-to-dismiss stage, a federal court may consider

                            only the plaintiff's complaint. Weiner, supra, at 88-89; see also Freeman,

                            supra, at 6 (citing Watterson v. Page, 987 F.2d 1, 3 (1st Cir. 1993)).

                                  FRE 201 allows this Court to take judicial notice of “a fact,” not a

                            document, that is not subject to reasonable dispute because it is generally

                            known within the trial court’s territorial jurisdiction or can be accurately and


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                            readily determined from sources whose accuracy cannot reasonably be

                            questioned. FRE 201(b)(1)-(2). However, the State Defendants never

                            requested this Court to take such judicial notice of any particular fact. The

                            procedural safeguard to protect the record from run-away factfinding without

                            submitted evidence dictates that the Court to “take judicial notice on its own”

                            or “if a party requests it and the court is supplied with the necessary

                            information.” FRE 201(c)(1)-(2). The State Defendants have not made any
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                            such request. Had they done so properly, Plaintiffs would have then timely

                            requested “to be heard on the propriety of taking judicial notice and the
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                            nature of the fact [not the document] to be noticed.” FRE 201(e). Because

                            the State Defendants never requested it, the Court cannot allow it absent its

                            own notice that will do so (and then Plaintiffs still have a right to objection,

                            see FRE 201(e)).

                                                           CONCLUSION

                                  Motions to dismiss are not a fast-track replacement to Rule 56 motions

                            to avoid normal discovery and disclosure of the operative facts. And Rule 56

                            motions are generally premature in the absence of reasonable discovery.

                            See Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986)(the plain

                            language of Rule 56 “mandates the entry of summary judgment, after

                            adequate time for discovery and upon motion, against a party who fails to


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                            make a showing sufficient to establish the existence of an element essential

                            to that party's case, and on which that party will bear the burden of proof at

                            trial....”). The State Defendants’ motion is attaching marketing publications

                            (whose veracity is questioned), affidavits, website printouts, and other

                            backdoor exhibits by linking to websites, and then making merits arguments

                            under a motion to dismiss basis is improper. This is procedurally unfair.

                            Absent a few exceptions which the State Defendants did not meet,
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                            assessment of the facial sufficiency of the complaint under Rule 12(b)(6)
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                            must ordinarily be undertaken without resort to matters outside the

                            pleadings. Wysocki, supra, at 1104. The State Defendants must pick its

                            procedure—a Rule 12(b)(6) on the pleadings or Rule 56 after discovery. It

                            cannot pick the best of both (from its perspective) at this pre-answer, pre-

                            discovery stage.

                                                       RELIEF REQUESTED

                                  WHEREFORE, Plaintiffs, by counsel, respectfully request this Court to

                            strike the State Defendants’ motion and all exhibits (ECF No. 21 and 21-2),

                            and direct the State Defendants to refile its motion and brief within a

                            reasonable amount of time which does not resort to matters outside the

                            pleadings if made under Rule 12(b)(6).




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                            Date: April 18, 2018                  RESPECTFULLY SUBMITTED:

                                                                  /s/ Philip L. Ellison
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                                                    CERTIFICATE OF SERVICE

                                  I, the undersigned attorney of record, hereby certify that on the date

                            stated below, I electronically filed the foregoing with the Clerk of the Court

                            using the ECF system which will send notification of such filing to all counsel

                            or parties of record.

                            Date: April 18, 2018                    RESPECTFULLY SUBMITTED:

                                                                    /s/ Philip L. Ellison
                                                                    OUTSIDE LEGAL COUNSEL PLC
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